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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



UNITED STATES OF AMERICA,                      :       CASE NO.: 1:21-CR-869
                                               :
                       Plaintiff,              :
                                               :       JUDGE SOLOMON OLIVER, JR.
       vs.                                     :
                                               :
CHELSEA PERKINS,                               :       DEFENDANT CHELSEA
                                               :       PERKINS’ RESPONSE TO
                       Defendant.              :       GOVERNMENT’S MOTION IN
                                               :       LIMINE TO PROHIBIT EXPERTS
                                               :       FROM TESTIFYING BEFORE
                                               :       LAYING FACTUAL PREDICATE
                                               :       (R. 158)



       The government moved to “preclude experts who spoke with Perkins to gather information

on which they based their opinions from testifying to the jury unless and until Perkins first testifies

on those facts to the jury.” (R. 158: MIL, PageID 1063). Although Ms. Perkins disagrees with any

argument that Dr. Zito could not testify prior to Ms. Perkins, see FED. R. EVID. 703, the defense

intends to present Ms. Perkins’ testimony prior to any expert testimony. The government’s motion,

therefore, does not present any issue in dispute between the parties.


                                               Respectfully submitted,

                                               /s/ Stephen C. Newman
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                                               Federal Public Defender
                                               Ohio Bar: 0051928
                                               /s/ CATHERINE ADINARO SHUSKY
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